          15-10694-mew                 Doc 8        Filed 04/07/15    Entered 04/07/15 23:02:38                     Main Document
                                                                     Pg 1 of 14
B 6 Summary (Official Form 6 - Summary) (12/14)



                                       UNITED STATES BANKRUPTCY COURT
                                                       Southern District
                                                     __________          of New
                                                                   District  of York
                                                                                __________
       Blue Dog at 399 Inc.
In re ___________________________________,                                                           15-10694
                                                                                           Case No. ___________________
                 Debtor
                                                                                                    11
                                                                                           Chapter ____________

                                                     SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS              ASSETS              LIABILITIES               OTHER

 A - Real Property                                                                     $
                                               Yes                                 1               0.00

 B - Personal Property                                                                 $
                                               Yes                                 3       1,451,650.00

 C - Property Claimed
     as Exempt                                 No

 D - Creditors Holding                                                                                      $
     Secured Claims                            Yes                                 2                             2,203,030.23

 E - Creditors Holding Unsecured                                                                            $
     Priority Claims                           Yes                                 2                                        0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $
     Nonpriority Claims                        Yes                                 2                             3,443,119.00


 G - Executory Contracts and
     Unexpired Leases                          Yes                                 1


 H - Codebtors                                 Yes                                 1

 I - Current Income of                         No                                                                                    $
     Individual Debtor(s)

 J - Current Expenditures of Individual        No                                                                                    $
     Debtors(s)

                                          TOTAL                               12       $   1,451,650.00     $    5,646,149.23
        15-10694-mew               Doc 8        Filed 04/07/15          Entered 04/07/15 23:02:38                      Main Document
B6A (Official Form 6A) (12/07)
                                                                       Pg 2 of 14
       Blue Dog at 399 Inc.
In re _____________________________________________,                                                              15-10694
                                                                                                        Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION




                                                                                 Total
                              0.00
                                                                                 (Report also on Summary of Schedules.)
        15-10694-mew
B 6B (Official Form 6B) (12/07)           Doc 8       Filed 04/07/15     Entered 04/07/15 23:02:38                       Main Document
                                                                        Pg 3 of 14
       Blue Dog at 399 Inc.
In re _______________________________________________,                                                              15-10694
                                                                                                          Case No. _________________________
                 Debtor                                                                                                    (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                  N                                                                           IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O              DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                  N                    OF PROPERTY                                              SECURED CLAIM
                                                  E                                                                              OR EXEMPTION

 1. Cash on hand.                                 X

 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                  Business Account No. 7527943625
 or shares in banks, savings and loan,                   Capital One Bank
 thrift, building and loan, and home-                    120 West 23rd Street                                                                       50.00
 stead associations, or credit unions,                   New York, NY 10010
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-                       Debtor's security deposit held by BP 399 Park
                                                                                                                                               61,600.00
 lords, and others.                                      Avenue LLC or its agent

 4. Household goods and furnishings,
 including audio, video, and computer             X
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                  X
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                              X
 7. Furs and jewelry.                             X
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.              X
 9. Interests in insurance policies.
 Name insurance company of each
 policy and itemize surrender or                         Leading Insurance (policy # 010125742BP103)                            To Be Determined
 refund value of each.                                   National Union Fire (policy # EBU017101546)

 10. Annuities. Itemize and name
 each issuer.                                     X
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.         X
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
        15-10694-mew
B 6B (Official                       Doc
               Form 6B) (12/07) -- Cont.          8       Filed 04/07/15    Entered 04/07/15 23:02:38             Main Document
                                                                           Pg 4 of 14

       Blue Dog at 399 Inc.
In re ______________________________________________,                                                           15-10694
                                                                                                      Case No. _________________________
                 Debtor                                                                                                (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)

                                                                                                                     CURRENT VALUE OF
                                                                                                                     DEBTOR’S INTEREST
                                                      N                                                              IN PROPERTY, WITH-
          TYPE OF PROPERTY                            O              DESCRIPTION AND LOCATION                        OUT DEDUCTING ANY
                                                      N                    OF PROPERTY                                 SECURED CLAIM
                                                      E                                                                 OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.               X
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                       X
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                                   X

 15. Government and corporate bonds
 and other negotiable and non-
                                                      X
 negotiable instruments.

 16. Accounts receivable.
                                                      X
 17. Alimony, maintenance, support,
 and property settlements to which the
 debtor is or may be entitled. Give                   X
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give                   X
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those listed in Schedule A – Real                    X
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
 benefit plan, life insurance policy, or trust.       X

 21. Other contingent and unliquidated
 claims of every nature, including tax                       Claims against BP 399 Park Avenue LLC in
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated
                                                             connection with breach of lease and other                  To Be Determined
                                                             obligations relating to premises leased to
 value of each.
                                                             Debtor at 399 Park Avenue, New York, NY
        15-10694-mew
B 6B (Official                       Doc
               Form 6B) (12/07) -- Cont.       8   Filed 04/07/15    Entered 04/07/15 23:02:38                      Main Document
                                                                    Pg 5 of 14
       Blue Dog at 399 Inc.
In re _________________________________________________,                                                          15-10694
                                                                                                        Case No. _________________________
                 Debtor                                                                                                  (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)


                                                                                                                        CURRENT VALUE OF
                                                                                                                        DEBTOR’S INTEREST
                                                   N                                                                    IN PROPERTY, WITH-
          TYPE OF PROPERTY                         O           DESCRIPTION AND LOCATION                                 OUT DEDUCTING ANY
                                                   N                 OF PROPERTY                                          SECURED CLAIM
                                                   E                                                                       OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.          X

 23. Licenses, franchises, and other general
 intangibles. Give particulars.                    X
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a        X
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
 and other vehicles and accessories.               X

 26. Boats, motors, and accessories.
                                                   X
 27. Aircraft and accessories.
                                                   X
 28. Office equipment, furnishings,
 and supplies.
                                                   X

 29. Machinery, fixtures, equipment,
 and supplies used in business.                        Fixtures, equipment, other property located at
                                                                                                                                  1,280,000.00
                                                       399 Park Avenue, New York, NY 10022

 30. Inventory.                                    X

 31. Animals.                                      X


 32. Crops - growing or harvested.
 Give particulars.                                 X

 33. Farming equipment and implements.
                                                   X

 34. Farm supplies, chemicals, and feed.           X
 35. Other personal property of any kind               Money held in escrow account by BP 399 Park
 not already listed. Itemize.                                                                                                      110,000.00
                                                       Avenue LLC or its escrow agent

                                                                      2
                                                               __________continuation sheets attached     Total
    $             1,451,650.00
                                                                      (Include amounts from any continuation
                                                                      sheets attached. Report total also on
                                                                                  Summary of Schedules.)
        15-10694-mew               Doc 8               Filed 04/07/15                Entered 04/07/15 23:02:38                                               Main Document
                                                                                    Pg 6 of 14
B 6D (Official Form 6D) (12/07)

                            Blue Dog at 399 Inc.
                     In re ____________________________________,                                                                       15-10694
                                                                                                                             Case No. __________________________________
                                         Debtor                                                                                                     (If known)

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

          Ƒ          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                  HUSBAND, WIFE,




 CREDITOR’S NAME AND                                                 DATE CLAIM WAS                                  UNLIQUIDATED              AMOUNT OF CLAIM                  UNSECURED
                                                                                                        CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR




    MAILING ADDRESS                                                     INCURRED,                                                                  WITHOUT                      PORTION, IF
                                                    JOINT, OR




INCLUDING ZIP CODE AND                                               NATURE OF LIEN ,                                               DISPUTED   DEDUCTING VALUE                     ANY
  AN ACCOUNT NUMBER                                                        AND                                                                  OF COLLATERAL
   (See Instructions Above.)                                           DESCRIPTION
                                                                      AND VALUE OF
                                                                        PROPERTY
                                                                     SUBJECT TO LIEN
ACCOUNT NO.
                                                  2011 loan to Debtor from YUHA Group, which
                                                  owns 20% of Debtor's shares. As collateral,
YUHA Group                                        Debtor pledged 49% of its shares of ownership
100 Winston Drive                                 (the value of which is to be determined) and a                                                        2,100,000.00
                                                  non-Debtor guarantor of the loan pledged real
Cliffside Park, NJ 07010                          property.
Attn: Yuri Hanin                                                    VALUE $ To Be Determined
ACCOUNT NO.                                                   7/17/2013 UCC-1 filing for purchase
                                                              money security interest in all property
US Foods, Inc.                                                sold to Debtor and in other property of
                                                              Debtor, the value of which is to be
1051 Amboy Avenue                                             determined. Debtor purchased no
                                                                                                                                    X                              0.00
Perth Amboy, NJ 08861                                         property from US Foods, Inc.

                                                                    VALUE $ To Be Determined
ACCOUNT NO.                                                        10/4/2013 UCC-1 filing for
                                                                   equipment leased to Debtor and
Bravo Capital, LLC                                                 asserting security interest in
                                                                   other property of Debtor, the
1214 W. 5th Street, Suite B                                        value of which is to be
                                                                                                                                                            48,215.00
Austin, TX 78701                                                   determined.
Attn: Stephen L. Stuesser
                                                                    VALUE $ To Be Determined
____
 1 continuation sheets                                              Subtotal Ź                                                                 $                            $
     attached                                                       (Total of this page)                                                                2,148,215.00
                                                                    Total Ź                                                                    $                            $
                                                                    (Use only on last page)
                                                                                                                                               (Report also on Summary of   (If applicable, report
                                                                                                                                               Schedules.)                  also on Statistical
                                                                                                                                                                            Summary of Certain
                                                                                                                                                                            Liabilities and Related
                                                                                                                                                                            Data.)
        15-10694-mew                         Doc 8       Filed 04/07/15                Entered 04/07/15 23:02:38                                             Main Document
                                                                                      Pg 7 of 14
B 6D (Official Form 6D) (12/07) – Cont.                                                                                                                                                     2

       Blue Dog at 399 Inc.
In re ____________________________________,                                                       15-10694
                                                                                        Case No. __________________________________
                   Debtor                                                                                      (if known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                (Continuation Sheet)




                                                 HUSBAND, WIFE,




                                                                                                                   UNLIQUIDATED
CREDITOR’S NAME AND                                                  DATE CLAIM WAS                                                          AMOUNT OF CLAIM              UNSECURED




                                                                                                      CONTINGENT
                                                  COMMUNITY
                                  CODEBTOR
   MAILING ADDRESS                                                  INCURRED, NATURE                                                             WITHOUT                  PORTION, IF



                                                   JOINT, OR




                                                                                                                                  DISPUTED
 INCLUDING ZIP CODE                                                    OF LIEN , AND                                                         DEDUCTING VALUE                 ANY
   AND AN ACCOUNT                                                    DESCRIPTION AND                                                          OF COLLATERAL
         NUMBER                                                    VALUE OF PROPERTY
  (See Instructions Above.)                                          SUBJECT TO LIEN


ACCOUNT NO.
                                                                  11/6/2013 UCC-1 equipment
                                                                  lease filing for turbo air
Pawnee Leasing                                                    refrigerators and related
Corporation                                                       equipment.                                                      X                   7,000.00
700 Centre Avenue
Fort Collins, CO 8052
                                                                  VALUE $ To Be Determined
ACCOUNT NO.
                                                                  12/26/2013 UCC-1 equipment
                                                                    12/26/2013
                                                                  lease                UCC-1
                                                                        filing for equipment leased
Financial Pacific                                                 toequipment
                                                                     Debtor.          lease
Leasing, Inc.                                                     filing for equipment
PO Box 4568                                                                                                                                           47,815.23
                                                                  leased to Debtor.
Federal Way, WA
98001
                                                                  VALUE $ To Be Determined
ACCOUNT NO.




                                                                  VALUE $
ACCOUNT NO.




                                                                  VALUE $
ACCOUNT NO.




                                                                  VALUE $
             1        1
Sheet no.______of______continuation                                               Subtotal (s)Ź                                              $                        $
sheets attached to Schedule of                                            (Total(s) of this page)
                                                                                                                                                      54,815.23
                                                                                                                                                      47,815.23
Creditors Holding Secured
Claims
                                                                                    Total(s) Ź
                                                                         (Use only on last page)
                                                                                                                                             $    2,203,030.23
                                                                                                                                                  2,196,030.23        $
                                                                                                                                             (Report also on          (If applicable,
                                                                                                                                             Summary of Schedules.)   report also on
                                                                                                                                                                      Statistical Summary
                                                                                                                                                                      of Certain
                                                                                                                                                                      Liabilities and
                                                                                                                                                                      Related Data.)
        15-10694-mew               Doc 8        Filed 04/07/15          Entered 04/07/15 23:02:38                      Main Document
                                                                       Pg 8 of 14
B6E (Official Form 6E) (04/13)


          In re Blue Dog at 399 Inc.                              ,                                     Case No. 15-10694
                                 Debtor                                                                                     (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
        15-10694-mew                Doc 8      Filed 04/07/15           Entered 04/07/15 23:02:38                    Main Document
                                                                       Pg 9 of 14
B6E (Official Form 6E) (04/13) – Cont.



 In re Blue Dog at 399 Inc.                                        ,             Case No. 15-10694
                              Debtor                                                                (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                           ____ continuation sheets attached
B 6F (Official15-10694-mew
              Form 6F) (12/07)                  Doc 8         Filed 04/07/15 Entered 04/07/15 23:02:38                                                   Main Document
                                                                            Pg 10 of 14
       Blue Dog at 399 Inc.
In re __________________________________________,                                                                          15-10694
                                                                                                                 Case No. _________________________________
                          Debtor                                                                                                      (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                             HUSBAND, WIFE,

                                                              COMMUNITY




      CREDITOR’S NAME,                                                            DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                                                               JOINT, OR




                                                                                                                        CONTINGENT
                                                  CODEBTOR




       MAILING ADDRESS                                                             INCURRED AND                                                                      CLAIM




                                                                                                                                                    DISPUTED
     INCLUDING ZIP CODE,                                                        CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                                CLAIM.
          (See   instructions above.)                                          IF CLAIM IS SUBJECT TO
                                                                                  SETOFF, SO STATE.


  ACCOUNT NO.                                                Reimbursement for legal fees and other damages
                                                             BP 399 Park Avenue LLC allegedly incurred
  BP 399 Park Avenue LLC
  399 Park Avenue
                                                             through 3/16/2015 for which it claims Debtor is                                        X                61,119.32
  New York, NY 10022                                         liable in connection with the leased premises at
  Attn: Matthew Mayer, Esq., In-house Counsel
                                                             399 Park Avenue, New York, NY 10022.

  ACCOUNT NO.                                                                 Sale of equipment to
  Eldorado Coffee Service                                                     Debtor on credit.
  56-75 49th Street                                                                                                                                                  64,000.00
  Maspeth, NY 11378
  Email: jpmartin@eldoradocoffee.com



  ACCOUNT NO.                                                                 2011 loan to Debtor.
  D&D Funding
  3500 Financial Drive                                                                                                                                             2,550,000.00
  Tallahassee, FL 32312
  Email: chris@structures.com



  ACCOUNT NO.                                                                 Unpaid fees for goods or
                                                                              services provided at premises
  Nexgen Construction Services Corp.
  30 Wilbur Street
                                                                              leased to Debtor at 399 Park                                                           19,000.00
  Staten Island, NY 10309                                                     Avenue, New York, NY 10022.
  Email: nexgenservcorp@verizon.net

                                                                                                                                         Subtotal
             $   2,694,119.00
    1
  _____continuation sheets attached                                                                                                 Total
                     $
                                                                                      (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                        Summary of Certain Liabilities and Related Data.)
B 6F (Official15-10694-mew
              Form 6F) (12/07) - Cont.   Doc 8           Filed 04/07/15 Entered 04/07/15 23:02:38                                                    Main Document
                                                                       Pg 11 of 14
       Blue Dog at 399 Inc.
In re __________________________________________,                                                                      15-10694
                                                                                                             Case No. _________________________________
                      Debtor                                                                                                   (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              (Continuation Sheet)




                                                         HUSBAND, WIFE,

                                                          COMMUNITY
      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                  AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT
                                              CODEBTOR


                                                           JOINT, OR




                                                                                                                                               DISPUTED
       MAILING ADDRESS                                                         INCURRED AND                                                                     CLAIM
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
          (See   instructions above.)                                      IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


  ACCOUNT NO.                                                             Unpaid fees for goods or
                                                                          services provided at premises
                                                                          leased to Debtor at 399 Park
  New York Design
  175 West Broadway                                                                                                                                               7,000.00
  New York, NY 10013
  Attn: Joseph Smerina
                                                                          Avenue, New York, NY 10022.
  Email: jsmerina@newyorkdesign.com


  ACCOUNT NO.                                                             Unpaid premiums in
  Leading Insurance Company
                                                                          connection with general
  400 Kelby Street                                                        liability insurance policy                                                              2,000.00
  Fort Lee, NJ 07024                                                      no. 010125742BP103.
  Email: kcedeno@ligmsi.com

  ACCOUNT NO.                                                             Loan to Debtor.
  Elizabeth Slavutsky
  111 W. 67 Street, #21N
                                                                                                                                                                140,000.00
  New York, NY 10023


  ACCOUNT NO.                                                             Loan to Debtor.
  Healthy Haven
  41-18 38th Street
                                                                                                                                                                150,000.00
  Long Island City, NY 11101


  ACCOUNT NO.                                                             Loan to Debtor.
  Yes Food LLC
  115 West 56th Street
                                                                                                                                                                450,000.00
  New York, NY 10019


              1 of______
  Sheet no.______       1    continuation sheets attached                                                                             Subtotal
           $
  to Schedule of Creditors Holding Unsecured                                                                                                                    749,000.00
  Nonpriority Claims

                                                                                                                               Total
                     $
                                                                                 (Use only on last page of the completed Schedule F.)                         3,443,119.00
                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                    Summary of Certain Liabilities and Related Data.)
15-10694-mew             Doc 8        Filed 04/07/15 Entered 04/07/15 23:02:38                                    Main Document
                                                    Pg 12 of 14
B 6G (Official Form 6G) (12/07)

In re Blue Dog at 399 Inc.                                    ,                     Case No. 15-10694
               Debtor                                                                             (if known)


      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.


         NAME AND MAILING ADDRESS,                                       DESCRIPTION OF CONTRACT OR LEASE AND
             INCLUDING ZIP CODE,                                          NATURE OF DEBTOR’S INTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CONTRACT.                                WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.


  BP 399 Park Avenue LLC                                              Lease dated as of January 1, 2012 (the “Lease”)
  399 Park Avenue                                                     between BP 399 Park Avenue LLC, as landlord,
  New York, NY 10022                                                  and Debtor, as tenant leasing retail and other
                                                                      nonresidential space (the “Premises”) in building
                                                                      located at 399 Park Avenue, New York, NY 10022.
                                                                    Stipulation of Settlement dated 11/27/2012 by and among BP 399 Park Avenue
  BP 399 Park Avenue LLC                                            LLC, as landlord and defendant, Debtor, as tenant and plaintiff, and Elizabeth
  399 Park Avenue                                                   Slavutsky, as guarantor, concerning the Lease and the Premises, entered
                                                                    11/29/2012 in New York County Supreme Court under NYSCEF Doc. No. 76 in the
  New York, NY 10022                                                action titled Blue Dog At 399 Inc. v. BP 399 Park Avenue LLC, Index No.
                                                                    653158/2012, as amended and/or modified by subsequent Orders entered in said
                                                                    case.

  Bravo Capital, LLC                                                  Equipment Lease Agreement #BC2013004,
  1214 W. 5th Street, Suite B                                         between Bravo Capital, LLC, as lessor and Debtor,
  Austin, TX 78701                                                    as lessee.



  Pawnee Leasing Corporation                                          Equipment lease by and among Pawnee Leasing
  700 Centre Avenue                                                   Corporation, as lessor, and Debtor and non-Debtor
  Fort Collins, CO 80526                                              affiliate Angelic Foods as co-lessees.



  Financial Pacific Leasing, Inc.                                     Equipment Lease #001-0916647-901, dated
  PO Box 4568                                                         12/24/2013 between Financial Pacific Leasing,
  Federal Way, WA 98001                                               Inc., as lessor, and Debtor, as lessee.
        15-10694-mew
B 6H (Official Form 6H) (12/07)    Doc 8       Filed 04/07/15 Entered 04/07/15 23:02:38                              Main Document
                                                             Pg 13 of 14
In re Blue Dog at 399 Inc.                                ,                                       Case No. 15-10694
                  Debtor                                                                                           (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no codebtors.

               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
15-10694-mew   Doc 8   Filed 04/07/15 Entered 04/07/15 23:02:38   Main Document
                                     Pg 14 of 14
